    Case 1:18-cv-00021-JMS-WRP Document 1-11 Filed 01/12/18 Page 1 of 3     PageID #: 94
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        From:     Quintin-John D'Agi r baud, III                   JAN 12 2018
                  #A0265488
                                                                DISTRICT OF HAWAII
        Re :       42 USC §1983 Original Complaint

        Date :    J a nuary 5, 2018                  CV18 00021JMS RLP
       Please fin d enclosed my Leave To Proceed In Forma Pauperis , as
       well as an origina l of my complaint with exhibits and 2 copies o f
       my original complaint without ex hi bits .   I unde rs tand that e xh ibi t s
       need not be submitted a t t his time o f filing , however , I fea r r e-
       taliat i on by the State of Hawai ' i by them des troy ing/confisca t ing
       my ev idence that is crucia l with my case.

       Please let me know what e ls e is needed, if any th ing , to file my
       complaint . I greatly appreciate your assistance in this importan t
       matter.




       ~ ~gir~d,
         .     erely ,            ~ /
         .               '   /.   'J.;-~

       Q ·nt n-John                        I II
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